      Nicholas J. Henderson, OSB No. 074027
      Motschenbacher & Blattner, LLP
      117 SW Taylor Street Suite 300
      Portland, OR 97204
      (503) 417-0508 Direct
      (503) 417-0528 Facsimile
      Email: nhenderson@portlaw.com

                 Attorneys for Debtor



                                  UNITED STATES BANKRUPTCY COURT

                                           DISTRICT OF OREGON

        In re:                                           Bankruptcy Case No. 21-31142-dwh11

        EDWARD A. ARINIELLO, JR.,
                                                         DEBTOR’S MEMORANDUM IN
                                 Debtor-in-Possession.   SUPPORT OF CONFIRMATION OF
                                                         DEBTOR’S PLAN OF REORGANIZATION
                                                         AND NOTICE OF PLAN MODIFICATION


                                             I. INTRODUCTION

                 Debtor-in-Possession Edward A. Ariniello, Jr., submits this Memorandum in Support of

      Confirmation of Debtor’s Plan of Reorganization and Notice of Plan Modification in advance of

      the confirmation hearing scheduled for February 10, 2022. Debtor requests entry of an Order

      Confirming Plan in substantially the form attached hereto as Exhibit 1 (the “Proposed OCP”),

      which would confirm Debtor’s the Plan of Reorganization dated August 17, 2021, as modified

      by the OCP. In support of confirmation, Debtor relies on the Declaration of Edward A.

      Ariniello, Jr. filed herewith, the expected testimony at the hearing, and the points and authorities

      set forth below.




                                                                                          Motschenbacher & Blattner LLP
Page 1 of 11        MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                           117 SW Taylor Street Suite 300
{00499067:2}                                                                                   Portland, OR 97204
                                                                                                 (503) 417-0500



                              Case 21-31142-dwh11        Doc 88     Filed 02/09/22
               The Plan contains two classes of claims, and one class of interests in property of the

      estate. Class 1 consists of one creditor, which has voted to reject the Plan. Debtor received five

      ballots from Class 2 creditors. Three out of the five Class 2 ballots received were accepting

      votes, but the two rejecting ballots result in rejection by Class 2. However, the two rejecting

      votes were submitted by creditors that filed objections to confirmation. Debtor has reached a

      settlement agreement with the objecting creditors. If the settlement agreement is approved by

      the Court, the objections shall be withdrawn, and the creditors’ rejecting ballots will be changed

      to accepting ballots, and the Plan will be accepted by 100% the voting Class 2 creditors. In that

      case, the Plan should be confirmed because the Plan satisfies each of the requirements for

      confirmation under 11 U.S.C. §§ 1129 and 1191, as well as the other applicable provisions of the

      Bankruptcy Code.

                                           II. RELEVANT FACTS

               A.     Debtors’ Chapter 11 Filing.

               On May 17, 2021 (the “Petition Date”), Debtor filed his voluntary petition under Chapter

      11 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”). Debtor has

      continued in possession of his property and management of his business affairs as debtors-in-

      possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

               B.     Summary of the Plan.

               Generally, the Plan provides that Debtor will continue to own and operate his business,

      U.S. Outdoor Holdings, LLC, and will continue to be paid a salary which Debtor will use to fund

      his Plan. Additionally, the Plan (as modified by the Proposed OCP) will delegate authority to the

      Subchapter V Trustee, to investigate potential avoidance actions against Debtor’s spouse and her

      mortgage company related to pre-petition transfers.

                                                                                           Motschenbacher & Blattner LLP
Page 2 of 11        MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                            117 SW Taylor Street Suite 300
{00499067:2}                                                                                    Portland, OR 97204
                                                                                                  (503) 417-0500



                             Case 21-31142-dwh11          Doc 88    Filed 02/09/22
               C.     Plan Solicitation and Voting Results.

               On August 20, 2021, the Court entered an Order Fixing Time For Filing Acceptances Or

      Rejections Of Plan; And Notice Of Confirmation Hearing [ECF No. 31] (the “Order Fixing

      Time”). That order scheduled the confirmation hearing for October 1, 2021. The Plan was

      thereafter transmitted to all Creditors and interested parties. The deadline for filing written

      ballots accepting or rejecting the Plan and filing of objection to the Plan was initially set for

      September 23, 2021.

               The confirmation hearing was subsequently rescheduled through a series of orders that

      were entered to accommodate the parties’ desire to attend a judicial settlement conference,

      negotiate the resolution of certain objections, and document the parties’ settlement. See ECF

      Nos. 42, 49, 74. The confirmation hearing is currently scheduled for February 10, 2022.

               Ballots were timely received from creditors in Classes 1 and 2. Class 1 has rejected the

      Plan. Class 2 has also rejected the Plan, but that rejection will change to approval if the Court

      approves the proposed settlement agreement reached by Debtor and the two objecting creditors,

      Solomon Management, Inc. (“Solomon Management”) and Robert D. Solomon, in his capacity

      as Trustee of the Mervin Solomon GST Trust UW 9-29-2008 (“Solomon,” and together with

      Solomon Management, the “Solomon Creditors”). If the settlement is approved and Class 2

      accepts the Plan, there is an impaired accepting class, and the Debtor can satisfy the confirmation

      requirements of 11 U.S.C. § 1129, without the cram down provisions of § 1191.

               D.     Objections to Confirmation.

               The pending objections to be resolved for confirmation are (1) the Joint Objection of

      Solomon Management, Inc. and Robert D. Solomon To Debtor’s Homestead Exemption [ECF

      No. 69] (the “Objection to Exemption”), and (2) the Joint Objection of Solomon Management,

                                                                                            Motschenbacher & Blattner LLP
Page 3 of 11        MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                             117 SW Taylor Street Suite 300
{00499067:2}                                                                                     Portland, OR 97204
                                                                                                   (503) 417-0500



                             Case 21-31142-dwh11          Doc 88     Filed 02/09/22
      Inc. and Robert D. Solomon to Confirmation of Debtor’s Subchapter V Plan [ECF No. 71] (the

      “Objection to Confirmation”). On February 9, 2022, Debtor filed a Notice of Settlement and

      Compromise and Motion to Approve Settlement [ECF No. 87] (the “Settlement Motion”). The

      Debtor also filed a Motion to Waive Notice Requirement for Approval of Compromise [ECF No.

      86]. If the Settlement Motion is approved, the pending objections will be withdrawn by the

      Solomon Creditors.

                                               III. ARGUMENT

               A.      The Plan Satisfies the Requirements of Section 1129 for Confirmation.

               Section 1129 sets forth the requirements for confirmation of a chapter 11 plan. Pursuant

      to § 1129(a), the Court shall confirm a chapter 11 plan only if all of its requirements are met. 11

      U.S.C. § 1129(a). Each subsection of 1129(a) is discussed below.

                    1. The Plan Complies With the Applicable Provisions of § 1129(a)(1).

               Section 1129(a)(1) provides that a court may confirm a chapter 11 plan only if “[t]he plan

      complies with the applicable provisions of [title 11].” 11 U.S.C. § 1129(a)(1). The phrase

      “applicable provisions” has been interpreted to include §§ 1122 and 1123, which govern the

      classification of claims and interests and the contents of a chapter 11 plan. See Kane v. Johns-

      Manville Corp. (In re Johns-Manville Corp.), 843 F.2d 636, 648-49 (2d Cir. 1988); In re Century

      Glove, Inc., No. 90-400-SLR, 1993 WL 239489, at *6 (D. Del. Feb. 10, 1993); H.R. Rep. No.

      95-595, at 412 (1977), as reprinted in 1978 U.S.C.C.A.N. 5963, 6368; S. Rep. No. 95-989, at 126

      (1978), as reprinted in 1978 U.S.C.C.A.N. 5787, 5912. There is no dispute that the Plan

      complies with Section 1129(a)(1) and is consistent with 11 U.S.C. §§ 1122 and 1123.




                                                                                          Motschenbacher & Blattner LLP
Page 4 of 11        MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                           117 SW Taylor Street Suite 300
{00499067:2}                                                                                   Portland, OR 97204
                                                                                                 (503) 417-0500



                             Case 21-31142-dwh11         Doc 88     Filed 02/09/22
                  2. The Plan Complies With the Applicable Provisions of Section 1129(a)(2).

               Section 1129(a)(2) requires that the plan proponent comply with the applicable

      provisions of title 11. A principal purpose of § 1129(a)(2) is to ensure plan proponents have

      complied with the requirements of the Bankruptcy Code and Bankruptcy Rules regarding

      disclosure and the solicitation of acceptances of a plan of reorganization. See H.R. Rep. No. 95-

      595 at 412. This case is a Subchapter V case, and therefore a disclosure statement was not

      required. 11 U.S.C. § 1181(b). Nevertheless, as discussed in the Facts section above, in

      accordance with the Order Fixing Time: (a) all persons entitled to receive notice of the Plan, and

      the Confirmation Hearing received proper, timely, and adequate notice; (b) proper written notice

      of the Confirmation Hearing and relevant deadlines for submissions of ballots and objections to

      confirmation of the Plan was provided; (c) the Debtor only solicited votes following entry of the

      Order Fixing Time; and (d) the Confirmation Hearing Notice was timely published. As votes on

      the Plan were solicited following entry of the Order Fixing Time, and notice was provided in

      accordance with that same order, the requirements of section 1129(a)(2) have been satisfied. See

      In re Drexel Burnham Lambert, 138 B.R. 723, 769 (Bankr. S.D.N.Y. 1992) (“Drexel II”) (§

      1129(a)(2) satisfied where debtors complied with all provisions of Bankruptcy Code and

      Bankruptcy Rules governing notice, disclosure, and solicitation relating to plan).

                  3.      The Plan Complies With the Applicable Provisions of Section 1129(a)(3).

               Section 1129(a)(3) requires that a Plan be “proposed in good faith and not by any means

      forbidden by law.” A Chapter 11 plan is proposed in good faith where it achieves a result

      consistent with the objectives and purposes of the Bankruptcy Code. Platinum Capital, Inc. v.

      Sylmar Plaza, LP (In re Sylmar Plaza, LP), 314 F.3d 1070, 1074 (9th Cir. 2002). In determining

      whether the Debtors have acted in good faith in proposing a reorganization plan, the Court must

                                                                                           Motschenbacher & Blattner LLP
Page 5 of 11      MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                              117 SW Taylor Street Suite 300
{00499067:2}                                                                                    Portland, OR 97204
                                                                                                  (503) 417-0500



                            Case 21-31142-dwh11         Doc 88     Filed 02/09/22
      take into account the totality of the circumstances, including whether the plan deals with the

      creditors in a fundamentally fair manner. Jorgensen v. Federal Land Bank (In re Jorgensen), 66

      B.R. 104, 108-109 (9th Cir BAP 1986).

               The Plan proposes to pay creditors from Debtor’s continued ownership and operation of

      U.S. Outdoor Holdings, LLC (“USOH”), in amounts consistent with Debtor’s proposed income

      and expense projections and liquidation analysis. The Plan is a good faith effort by Debtor to

      maximize the recovery to parties in interest, and deals with creditors in a fundamentally fair

      manner and preserves all rights of creditors and interested parties. No objection has been made

      regarding whether the Plan satisfies Section 1129(a)(3).

                   4. The Plan Complies With the Applicable Provisions of Section 1129(a)(4).

               Section 1129(a)(4) requires that the Plan provide for appropriate court supervision over

      professional fees and expenses incurred in connection with the case, or in connection with the

      plan and incident to the case. All such fees and expenses have been or will be submitted to the

      Court for approval in applications to compensate professionals and, therefore, this requirement is

      satisfied.

                   5. The Plan Complies With the Applicable Provisions of Section 1129(a)(5).

               Section 1129(a)(5) requires: (1) the disclosure of the identity and affiliations of any

      individual proposed to serve post-confirmation as a successor to the debtors under the plan; (2)

      that such appointment be consistent with the interests of creditors, equity security holders, and

      with public policy; and (3) disclosure of the nature of the compensation to be provided to any

      insiders to be employed or retained post-confirmation. The Debtor is an individual and has no

      connection to insiders other than himself. Therefore, Section 1129(a)(5) is inapplicable.



                                                                                            Motschenbacher & Blattner LLP
Page 6 of 11       MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                              117 SW Taylor Street Suite 300
{00499067:2}                                                                                     Portland, OR 97204
                                                                                                   (503) 417-0500



                             Case 21-31142-dwh11          Doc 88     Filed 02/09/22
                  6. The Plan Complies With the Applicable Provisions of Section 1129(a)(6).

               Debtor is not subject to any governmental regulation regarding rate changes, therefore

      Section 1129(a)(6) is inapplicable.

                  7. The Plan Complies With the Applicable Provisions of Section 1129(a)(7).

               Section 1129(a)(7) requires that holders of claims or interests of each impaired class

      either accept the Plan or “receive or retain under the Plan * * * property of a value, as of the

      effective date of the plan, that is not less than the amount that such holder would so receive or

      retain if the debtors were liquidated under Chapter 7….” As shown in the liquidation analysis

      attached to the Debtor’s Plan, The Plan proposes to pay creditors more than they would receive if

      Debtor’s assets were liquidated under Chapter 7. Accordingly, the requirements of Section

      1129(A)(7) have been satisfied.

                  8. The Plan Complies With the Applicable Provisions of Section 1129(a)(8).

               Section 1129(a)(8) requires that each class of claims has either accepted the Plan or such

      class is not impaired under the Plan. Because Class 1 is impaired and has not accepted the Plan,

      Section 1129(a)(8) is not satisfied. Therefore, Debtor seeks to confirm the Plan pursuant to

      Section 1191(b), which is discussed below.

                  9. The Plan Complies With the Applicable Provisions of Section 1129(a)(9).

               Section 1129(a)(9) requires particular treatment with respect to certain priority claims

      except to the extent that the claimant has agreed to a different treatment.

               Section 1129(a)(9)(A) is satisfied because Article 3 of the Plan provides that

      administrative expenses will be paid in full in cash on the later of the Effective Date or the date

      on which such claims are approved by the court, unless different treatment is agreed to.

               Because this Chapter 11 case was commenced voluntarily, there are no "gap" claims.

                                                                                           Motschenbacher & Blattner LLP
Page 7 of 11       MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                             117 SW Taylor Street Suite 300
{00499067:2}                                                                                    Portland, OR 97204
                                                                                                  (503) 417-0500



                             Case 21-31142-dwh11          Doc 88     Filed 02/09/22
               Section 1129(a)(9)(B) does not apply.

               Section 1129(a)(9)(C) and (D) is satisfied because Sections 3.3 of the Plan provides that

      any priority tax claims will be paid.

                  10. The Plan Complies With the Applicable Provisions of Section 1129(a)(10).

               Section 1129(a)(10) requires that if a class of claims is impaired under the Plan, at least

      one class of claims that is impaired under the Plan has accepted the Plan, determined without

      including any acceptance of the Plan by any insider. If the Settlement Motion is approved, the

      Solomon Creditors will change their votes to accepting, and Class 2 will have voted to accept the

      Plan; therefore, Section 1129(a)(10) will have been satisfied.

                  11. The Plan Complies With the Applicable Provisions of Section 1129(a)(11).

               Debtors’ Plan is feasible and satisfies the requirements of Section 1129(a)(11). The

      “feasibility” requirement of Section 1129(a)(11) requires that in order to confirm a plan, a court

      must be satisfied that confirmation “is not likely to be followed by the liquidation, or the need for

      further financial reorganization, of the debtors or any successor to the debtors under the plan,

      unless such liquidation or reorganization is proposed in the plan.” To demonstrate that a plan is

      feasible, a debtor is required to show a “reasonable probability of success”; a debtor does not

      have to prove that success is inevitable. In re Brotby, 303 B.R. 177, 191 (9th Cir. BAP 2003)

      (citing In re Acequia, Inc., 787 F.2d 1352, 1364 (9th Cir. 1986)); In re WCI Cable, Inc., 282 B.R.

      457, 486 (Bankr. D. Or. 2002). “The mere potential for failure of the plan or the prospect of

      financial uncertainty is insufficient to disprove feasibility.” In re Sagewood Manor Associates

      Limited Partnership, 223 B.R. 756, 762 (Bankr. D. Nev. 1998). The threshold of evidence

      necessary to establish feasibility is relatively low; a debtor need only establish that there is a



                                                                                             Motschenbacher & Blattner LLP
Page 8 of 11       MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                               117 SW Taylor Street Suite 300
{00499067:2}                                                                                      Portland, OR 97204
                                                                                                    (503) 417-0500



                             Case 21-31142-dwh11          Doc 88     Filed 02/09/22
      reasonable probability that the provisions of the plan of reorganization can be performed. Brotby,

      303 B.R. at 192; Sagewood, 223 B.R. at 762.

               As is set forth above, and in the Ariniello Declaration, Debtor has been earning a living

      consistent with the income and expense projections attached as Exhibit 2 to the Plan. Those

      projections indicate that the Debtor can afford to make the Plan payments. The projections also

      contain reasonable assumptions, according to the Debtor’s testimony, that his income will

      increase, and he will be able to make larger payments as the Plan progresses into years 2-5. As a

      result, Section 1129(a)(11) is satisfied.

                  12. The Plan Complies With the Applicable Provisions of Section 1129(a)(12).

               Section 1129(a)(12) requires that certain fees listed in 28 U.S.C. § 1930, as determined

      by the Court at the hearing on confirmation of the Plan, have been paid or that the Plan provides

      for the payment of all such fees on the Effective Date of the Plan. Section 3.4 of the Plan

      provides for the payment of all such fees so this requirement is satisfied.

                  13. The Plan Complies With the Applicable Provisions of Section 1129(a)(13).

               Because Debtor offers no retiree benefits as that term is defined in § 1114, Section

      1129(a)(13) is not applicable to confirmation of the Plan.

                  14. The Plan Complies With the Applicable Provisions of Section 1129(a)(14).

               Debtors are not required to pay domestic support obligations, and thus Section

      1129(a)(14) is inapplicable.

                  15. The Plan Complies With the Applicable Provisions of Section 1129(a)(15).

               Section 1129(a)(15) does not apply to a case under Subchapter V. 11 U.S.C. § 1181(a).




                                                                                          Motschenbacher & Blattner LLP
Page 9 of 11      MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                             117 SW Taylor Street Suite 300
{00499067:2}                                                                                   Portland, OR 97204
                                                                                                 (503) 417-0500



                             Case 21-31142-dwh11         Doc 88     Filed 02/09/22
                  16. The Plan Complies With the Applicable Provisions of Section 1129(a)(16).

               Debtor is not a corporation or trust that is not a moneyed, business, or commercial

      corporation or trust.

                  17. The Plan Satisfies Section 1191(b).

               In cases filed under Subchapter V, Section 1191(b) provides:

               Notwithstanding section 510(a) of this title, if all of the applicable requirements
               of section 1129(a) of this title, other than paragraphs (8), (10), and (15) of that
               section, are met with respect to a plan, the court, on request of the debtor, shall
               confirm the plan notwithstanding the requirements of such paragraphs if the plan
               does not discriminate unfairly, and is fair and equitable, with respect to each class
               of claims or interests that is impaired under, and has not accepted, the plan.

      Although the Plan does not comply with Section 1129(a)(8), the Plan complies with Section

      1129(b).

               The Bankruptcy Code does not define what is ‘fair and equitable.’ In re Tucker, 479 B.R.

      873, 878 (Bankr. D. Or. 2012). Instead, the Court is to look at a variety of factors. Id. at 879

      (citing In re Dollar Assocs., 172 B.R. 945 (Bankr. N.D. Cal. 1994)). Those factors include (1)

      whether the plan furthers the reorganization goal of preserving equity of the debtor; (2) whether

      the plan preserves jobs and going concern value; (3) whether the plan significantly furthers the

      goal of maximizing distribution to creditors; and (4) whether the plan has been rejected by the

      overwhelming majority of claims. Id. The factors that are applicable to this case weigh in favor

      of confirmation.

               Separately, under Section 1191, the absolute priority rule does not apply in a Subchapter

      V confirmation. “Notably, in a subchapter V case, the absolute priority rule under §

      1129(b)(2)(B) is eliminated for cramdown, which will allow existing owners to retain their full

      ownership without giving any new value, but only if the plan provides for the debtor to distribute


                                                                                            Motschenbacher & Blattner LLP
Page 10 of 11      MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                              117 SW Taylor Street Suite 300
{00499067:2}                                                                                     Portland, OR 97204
                                                                                                   (503) 417-0500



                              Case 21-31142-dwh11         Doc 88     Filed 02/09/22
      all of its projected disposable income over at least three years from the date the first payment is

      due under the plan (or property having a value of at least that amount)”. In re Pearl Res. LLC,

      Nos. 20-31585, 20-31586, 2020 Bankr. LEXIS 2683, at *65 (Bankr. S.D. Tex. Sep. 30, 2020);

      See also In re Body Transit, Inc., No. 20-10014 ELF, 2020 Bankr. LEXIS 2111, at *34 n.27

      (Bankr. E.D. Pa. Aug. 7, 2020) (“[T]he ‘absolute priority rule’ of 11 U.S.C. § 1129(b)(2)(B)(ii)

      does not apply in subchapter V.”); In re Players Network, No. 20-12890-MKN, 2020 Bankr.

      LEXIS 3016, at *3 n.6 (Bankr. D. Nev. Oct. 23, 2020) (“Confirmation of a Subchapter V plan

      does not require compliance with Section 1129(b)(2)(B).”).

               The Plan furthers the reorganizational goal of preserving the equity of the Debtor; the

      Plan provides for the Debtor to retain his interest in property of the estate post-confirmation in

      the same manner as such interest was held pre-petition. Plan, Article 4. The Plan furthers the

      goal of maximizing distribution to creditors, as the creditors will receive more than they would

      receive in a hypothetical chapter 7 liquidation. Plan, Exhibit 1.

                                                CONCLUSION

               As demonstrated herein, the Plan, as to be modified by the Order Confirming Plan,

      complies with the requirements for confirmation; the Plan should be confirmed.

      Dated: February 9, 2022.                            MOTSCHENBACHER & BLATTNER LLP

                                                         /s/ Nicholas J. Henderson
                                                        Nicholas J. Henderson, OSB No. 074027
                                                        nhenderson@portlaw.com
                                                        117 SW Taylor Street, Suite 300
                                                        Portland, OR 97204
                                                        Phone: 503-417-0508
                                                        Fax: 503-417-0501

                                                        Counsel for Debtor Edward Ariniello



                                                                                           Motschenbacher & Blattner LLP
Page 11 of 11     MEMORANDUM IN SUPPORT OF PLAN CONFIRMATION;                              117 SW Taylor Street Suite 300
{00499067:2}                                                                                    Portland, OR 97204
                                                                                                  (503) 417-0500



                             Case 21-31142-dwh11         Doc 88     Filed 02/09/22
                                        CERTIFICATE OF SERVICE

               I hereby certify that on the date set forth below, a true and correct copy of the foregoing

      DEBTOR’S MEMORANDUM IN SUPPORT OF CONFIRMATION OF DEBTOR’S

      PLAN OF REORGANIZATION was provided to the following parties through the Court’s

      Case Management/Electronic Case File system:


           •   NICHOLAS J HENDERSON nhenderson@portlaw.com, tcoble@portlaw.com;
               tsexton@portlaw.com; shalstead@portlaw.com; hendersonnr86571@notify.bestcase.com

           •   AMBER L LABRECQUE              bankruptcy@zbslaw.com

           •   GARRETT SHEA LEDGERWOOD Garrett.Ledgerwood@MillerNash.com, mngd-
               2823@millernash.comAmy E Mitchell mitchelltrustee@comcast.net,
               OR21@ecfcbis.com

           •   Amy E Mitchell      mitchelltrustee@comcast.net, OR21@ecfcbis.com

           •   TROY SEXTON tsexton@portlaw.com, nhenderson@portlaw.com,troy-sexton-
               4772@ecf.pacerpro.com,tcoble@portlaw.com,courtnotices@portlaw.com

           •   US Trustee, Portland     USTPRegion18.PL.ECF@usdoj.gov

           •   JESSIE YOUNG         jessie.young@usdoj.gov, nicole.smith@usdoj.gov

               I further certify that on the date set forth below, a true and correct copy of the above-

      described document was sent to the following parties via first class mail, postage prepaid:

               NONE

      DATED: February 9, 2022.
                                                      MOTSCHENBACHER & BLATTNER, LLP

                                                      /s/Nicholas J. Henderson
                                                      Nicholas J. Henderson, OSB No. 074027
                                                      Attorneys for Debtor Edward Ariniello




                                                                                             Motschenbacher & Blattner LLP
Page 1 of 1        CERTIFICATE OF SERVICE                                                    117 SW Taylor Street Suite 300
{00499067:2}                                                                                      Portland, OR 97204
                                                                                                    (503) 417-0500



                             Case 21-31142-dwh11           Doc 88     Filed 02/09/22
                                     EXHIBIT 1
                          PROPOSED ORDER CONFIRMING PLAN




                            UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

 In re:                                             Bankruptcy Case Nos.:

 EDWARD A. ARINIELLO, JR.
                                                    ORDER CONFIRMING DEBTOR’S
                                 Debtors.           FIRST AMENDED JOINT PLAN OF
                                                    REORGANIZATION, AS MODIFIED
                                                    AT CONFIRMATION



          This matter came before the Court on the 10th day of February, 2022, for confirmation of

the Debtors’ Plan of Reorganization dated August 17, 2022, as modified herein (the “Plan”).

Based upon the testimony, exhibits, and representations provided at the hearing, and the Court’s

review of the record, including evidence considered based on requests for judicial notice, and

further based on the findings of fact and conclusions of law stated by the Court on the record at the

hearing held, the Court finds all requirements for confirmation contained in 11 U.S.C. §§ 1129 and

1191 are met.

Page 1         ORDER CONFIRMING DEBTOR’S PLAN OF                       Motschenbacher & Blattner, LLP
{00499836:2}   REORGANIZATION AS MODIFIED AT                           117 SW Taylor Street Suite 300
                                                                            Portland, OR 97204
               CONFIRMATION                                                   (503) 417-0500


                       Case 21-31142-dwh11         Doc 88     Filed 02/09/22
         THE COURT HEREBY FINDS AND CONCLUDES that:

         A.     This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

Confirmation of the Plan is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is properly

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.     The Court further finds that the Plan was properly transmitted to creditors and

parties in interest and that all objections to the Plan, if any, have been resolved The Court further

finds that the proposed amendments by interlineation set forth below to Debtor’s Plan do not

adversely change the treatment of the claim of any creditor or the interest of any equity security

holder who has not accepted in writing the amendments, and therefore, such amendments shall be

deemed accepted by all creditors and interest holders who have previously accepted the Plan.

         NOW, THEREFORE, IT IS HEREBY ORDERED that:

         1.     The Plan, as modified by the amendments described herein, is confirmed as a

non-consensual plan pursuant to 11 U.S.C. §§ 1129 and 1191(b) of the Bankruptcy Code.

         2.     The Plan is hereby modified as shown by the redline comments on the attached

Exhibit A. Attached as Exhibit B is a copy of the Plan containing all amendments and

modifications addressed by this Order.

         3.     This Order is a Final Order. There shall be no stay of this Order under Bankruptcy

Rule 3020(e) and the period in which an appeal must be filed shall commence immediately upon

the entry hereof in accordance with Bankruptcy Rule 3020(e).

         4.     To the extent any provision designated herein as a finding of fact is more properly

characterized to be a conclusion of law, it shall be so deemed, and vice versa.

                                                ###




Page 2         ORDER CONFIRMING DEBTOR’S PLAN OF                        Motschenbacher & Blattner, LLP
{00499836:2}   REORGANIZATION AS MODIFIED AT                            117 SW Taylor Street Suite 300
                                                                             Portland, OR 97204
               CONFIRMATION                                                    (503) 417-0500


                      Case 21-31142-dwh11          Doc 88     Filed 02/09/22
I certify that we have complied with the requirements of LBR 9021-1(a)(2)(A).

Presented by:

Motschenbacher & Blattner LLP

/s/ Nicholas J. Henderson
Nicholas J. Henderson, OSB No. 074027
Email: nhenderson@portlaw.com
117 SW Taylor Street, Suite 300
Portland, Oregon 97204-3029
(503) 417-0508 Direct
(503) 417-0528 Facsimile

Counsel for Debtor Edward A. Ariniello, Jr.




Page 3         ORDER CONFIRMING DEBTOR’S PLAN OF                   Motschenbacher & Blattner, LLP
{00499836:2}   REORGANIZATION AS MODIFIED AT                       117 SW Taylor Street Suite 300
                                                                        Portland, OR 97204
               CONFIRMATION                                               (503) 417-0500


                     Case 21-31142-dwh11        Doc 88    Filed 02/09/22
   Nicholas J. Henderson, OSB #074027
   nhenderson@portlaw.com
   Motschenbacher & Blattner LLP
   117 SW Taylor St., Suite 300
   Portland, OR 97204
   Telephone: (503) 417-0500
   Facsimile: (503) 417-0521

               Of Attorneys for Debtor Edward A. Ariniello, Jr.



                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


    In re:                                                  Case No. 21-31142-dwh11

    EDWARD A. ARINIELLO, JR.,                               DEBTOR’S FIRST AMENDED PLAN OF
                                                            REORGANIZATION DATED AUGUST
                              Debtor.                       17, 2021FEBRUARY 9, 2022



   You are encouraged to carefully review the full text of this document, including all exhibits and
   attachments, before deciding how to vote on the Plan. To assist you in your review, please note that a list
   of definitions and a section of frequently asked questions appear at the end of this document.

   IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU MAY
   OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO OBJECT TO
   CONFIRMATION OF THE PLAN, YOU MUST DO SO BY THE DEADLINE SET FORTH IN
   THE NOTICE OF CONFIRMATION HEARING.

   YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE RETURNED
   BY THE DATE PROVIDED IN THE COURT’S ORDER FIXING TIME FOR FILING
   ACCEPTANCES OR REJECTION OF THE PLAN; AND NOTICE OF CONFIRMATION
   HEARING. THE BALLOT MUST BE MAILED TO MOTSCHENBACHER & BLATTNER
   LLP, ATTN: NICHOLAS J. HENDERSON, 117 SW TAYLOR STREET, SUITE 300,
   PORTLAND, OR 97204.

   Your rights may be affected by this Plan. You should consider discussing this document with an
   attorney.




Page 1 of 10          DEBTOR’S FIRST AMENDED PLAN OF                                Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00502099:1}          REORGANIZATION (DATED FEBRUARY 9, 2022)                           Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                         Exhibit A - Page
                                Case 21-31142-dwh11       1 ofFiled
                                                      Doc 88   10 02/09/22
   Questions regarding this Plan may be directed to the attorneys for the Debtor-In-Possession, using the
   contact information provided above.

   Edward A. Ariniello, Jr. (the “Debtor” or “Plan Proponent”) hereby submits this First Amended Plan of
   Reorganization dated August 17, 2021February 9, 2022 (the “Plan”).

   Background for Cases Filed Under Subchapter V.

       A. Description and History of the Debtor's Business

   The Debtor is an individual residing in WashingtonClackamas County, Oregon. Debtor owns 68.4% of
   the outstanding membership interest of U.S. Outdoor Holding LLC (“USOH”), an Oregon manager-
   managed limited liability company headquartered in Multnomah County, Oregon. USOH operates U.S.
   Outdoor Store (the “Store”) as a retail establishment for outdoor sports and activities such as camping,
   hiking, skiing, snowboarding and more. Debtor is USOH’s manager and the primary operator at the
   Store.

   Debtor purchased the Store in 2017, and organized USOH that same year. Under Debtor’s management,
   the Store was relocated to Northwest Portland, after having been located on Broadway Street in
   downtown Portland since 1986. USOH is a debtor in its own Chapter 11 Subchapter V case, U.S.
   Bankruptcy Court (D. Oregon) Case No. 20-32571-dwh11 (the “USOH Case”). USOH’s Plan of
   Reorganization was confirmed in the USOH Case on January 27, 2021. See ECF No. 131; Case No. 20-
   32571-dwh11.

       B. Liquidation Analysis

   To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept
   the Plan will receive at least as much under the Plan as such claim and equity interest holders would
   receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit 1.

       C. Ability to make future plan payments and operate without further reorganization

   The Debtor must also show that it will have enough cash over the life of the Plan to make the required
   Plan payments and operate the Debtor’s business.

   The Plan Proponent has provided projected financial information as Exhibit 2.

   The Plan Proponent’s financial projections show that the Debtor will have projected disposable income
   (as defined by § 1191(d) of the Bankruptcy Code) for the period described in § 1191(c)(2) of
   $1535,147.96.

   The final Plan payment is expected to be paid on the 36th60th month following confirmation of the Plan,
   which is anticipated to be September, 2024March, 2027.




Page 2 of 10     DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00502099:1}     REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                     Exhibit A - Page
                            Case 21-31142-dwh11       2 ofFiled
                                                  Doc 88   10 02/09/22
   The Plan Proponent’s financial projections are based on the Debtor’s current income and expenses,
   which were used to calculate the Debtor’s current disposable income. The Debtor projects that his
   business will continue to improve, and that he will be able to modestly increase his personal income
   from the business as a result.

   You should consult with your accountant or other financial advisor if you have any questions pertaining
   to these projections.

       I. ARTICLE 1: SUMMARY

           This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code)
   proposes to pay creditors of (the Debtor) from [Specify sources of payment, such as an infusion of
   capital, loan proceeds, sale of assets, cash flow from operations, or future income].the Debtor from
   ownership and operation of, and employment by, USOH, and through contribution of his share of
   household tax refunds received during the three years following the Effective Date of the Plan.

               This Plan provides for:        0 class of priority claims;
                                              0 classes of secured claims;
                                              2 classes of non-priority unsecured claims; and
                                              1 classes of equity security holders.

   Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent
   of this Plan has valued at approximately $0.05 cents on the dollar. This Plan also provides for the
   payment of administrative and priority claims.

   All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information
   regarding the precise treatment of their claim. A disclosure statement that provides more detailed
   information regarding this Plan and the rights of creditors and equity security holders has been
   circulated with this Plan.

       II.           ARTICLE 2: CLASSIFICATION OF CLAIMS AND INTERESTS

               2.1     Class 1. The non-priority unsecured claim of National Funding.

               2.2     Class 2. All non-priority unsecured claims allowed under § 502 of the Code.

               2.3     Class 3. The interests of the individual Debtor in property of the estate.


       III.          ARTICLE 3: TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                     PRIORITY TAX CLAIMS, AND QUARTERLY AND COURT FEES

           3.1     Unclassified claims. Under section § 1123(a)(1), administrative expense claims, and
   priority tax claims are not in classes.



Page 3 of 10           DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                          117 SW Taylor Street, Suite 300
{00502099:1}           REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                               Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com

                                          Exhibit A - Page
                                 Case 21-31142-dwh11       3 ofFiled
                                                       Doc 88   10 02/09/22
           3.2    Administrative expense claims. Each holder of an administrative expense claim allowed
   under § 503 of the Code, will be paid in full on the Effective Date of this Plan, in cash, or upon such
   other terms as may be agreed upon by the holder of the claim and the Debtor.

           3.3     Priority tax claims. Each holder of a priority tax claim will be paid in full over a period
   not later than the order for relief. The claim of the Internal Revenue Service is being paid in full
   pursuant to the terms of the USOH Plan. No payments shall be made by the Debtor under this Plan to
   the Internal Revenue Service. In the event of a default under the USOH Plan, the Debtor shall amend
   this Plan to provide for payment to the IRS. Such provision will reduce the amount of payments to be
   made to non-priority unsecured creditors.

           3.4    Statutory fees. All fees required to be paid under 28 U.S.C. § 1930 that are owed on or
   before the Effective Date of this Plan have been paid or will be paid on the Effective Date.

          3.5     Prospective quarterly fees All quarterly fees required to be paid under 28 U.S.C. §
   1930(a)(6) or (a)(7) will accrue and be timely paid until the case is closed, dismissed, or converted to
   another chapter of the Code

       IV.     ARTICLE 4: TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN.

   Claims and interests shall be treated as follows under this Plan:

    Class                       Treatment
    Class 1 – The non-          Class 1 is impaired. The Class 1 Claim of National Funding is being
    priority unsecured claim    paid in full under the terms of the USOH Plan. The Debtor shall not
    of National Funding,        make any payments to the Class 1 creditor unless National Funding,
    Inc.                        Inc. is not paid in full by USOH. In the event that USOH fails to pay
                                National Funding, Inc. under the terms of its plan, the Class 1 claim
                                shall receive payments under this Plan in the same manner as the
                                Class 2 Claimants.
    Class 2 – All non-          Class 2 is impaired. The Class 2 claims will be paid based on the
    priority unsecured          amounts required by 11 U.S.C. § 1129(a)(15)(B), which the Debtor
    creditors not otherwise     estimates to be $15,147.96 based on the Disposable Income
    classified under the        Projection attached hereto as Exhibit 2. Creditors will receive
    Plan.                       approximately 0.531.00% of their claims. Payment of any
                                dividendThis percentage will dependvary depending on the amounts
                                of allowed priority (including costs of administration of the Estate
                                and the Debtor’s attorney fees), and allowed non-priority unsecured
                                claims. Unsecured claims shall be paid pro-rata on a quarterly basis,
                                after payment of administrative claims on a pro-rata basis on a
                                quarterly basis. The dividend shall consist of each creditor’s pro-rata
                                share of the portion of the Debtor’s Quarterly Payment (defined
                                below) remaining after payment of administrative claims. The
                                Debtor’s Quarterly Payment shall be:



Page 4 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                      Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00502099:1}      REORGANIZATION (DATED FEBRUARY 9, 2022)                                 Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com

                                       Exhibit A - Page
                              Case 21-31142-dwh11       4 ofFiled
                                                    Doc 88   10 02/09/22
                                       $780.00 per quarter during the first year after the Effective
                                        Date of the Plan;
                                     $1,200 per quarter during the second year after the Effective
                                        Date of the Plan;
                                     $1,650 per quarter during the third year after the Effective
                                        Date of the Plan.
                                     Additionally, the Debtor shall$2,500 per quarter during the
                                        fourth and fifth years after the Effective Date of the Plan, or
                                        until such time that Debtor has made plan payments totaling
                                        $35,147.96, exclusive of (1) tax refunds contributed to the
                                        Plan, as described below and (2) any amounts recovered from
                                        avoidance claims, as discussed in Article 7 below.
                                The Debtor shall also contribute his share of the household tax refund
                                to the Plan each year, if any, for the 3 years following the Effective
                                Date. Class 2 creditors shall receive their pro-rata share of the
                                Debtor’s portion of the household tax refund that remains after
                                payment to administrative claims.
    Class 3 – Debtor’s          Class 3 is unimpaired. Class 3 is the Debtor, who shall retain his
    Interest in Property of     interest in property of the estate.
    the Estate

       V.      ARTICLE 5: ALLOWANCE AND DISALLOWANCE OF CLAIMS

           5.1    Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by
   a final non-appealable order],, and as to which either:

                  (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in
                  interest has filed an objection; or

                  (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as
                  disputed, contingent, or unliquidated.

          5.2     Delay of distribution on a disputed claim. No distribution will be made on account of a
   disputed claim unless such claim is allowed by a final non-appealable order.

          5.3    Settlement of disputed claims. The Debtor will have the power and authority to settle and
   compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal Rules
   of Bankruptcy Procedure.

         5.4    Allowance of Certain Claims. Upon confirmation of this Plan, the claim of Solomon
   Management, Inc. (Claim No. 4-1) and the claim of Robert D. Solomon, in his capacity as Trustee of the
   Mervin Solomon GST Trust UW 9-29-2008 (Claim No. 5-1) shall be deemed allowed.

       VI.     ARTICLE 6: PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

Page 5 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                    Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00502099:1}      REORGANIZATION (DATED FEBRUARY 9, 2022)                               Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                       Exhibit A - Page
                              Case 21-31142-dwh11       5 ofFiled
                                                    Doc 88   10 02/09/22
           Except for executory contracts and unexpired leases that have been assumed, and if applicable
   assigned, before the Effective Date or under section 6.01(a) of this Plan, or that are the subject of a
   pending motion to assume, and if applicable assign, the Debtor will be conclusively deemed to have
   rejected all executory contracts and unexpired leases as of the Effective Date.

           A proof of a claim arising from the rejection of an executory contract or unexpired lease under
   this section must be filed no later than 30 days after the date of the order confirming this Plan.

       VII.    ARTICLE 7: MEANS FOR IMPLEMENTATION OF THE PLAN

          7.1     General Plan Funding. Debtor intends to implement the Plan by continuing his
   ownership and operation of, and employment by, USOH, and through contribution of his share of
   household tax refunds received during the three years following the Effective Date of the Plan. The net
   disposable income to be generated through Debtor’s continued operation of USOH is shown in the
   attached Exhibit 2.

           7.2     Avoidance Actions. Any funds recovered from actions arising under Chapter 5 of the
   Bankruptcy Code shall be used to make additional payments to Creditors under the Plan. Debtor has not
   yet completed his investigation with regard to prepetition transactions. Debtor anticipates completing
   his investigation by May 31, 2022, and, except as set forth below, retains all rights to pursue any actions
   arising under chapter 5 of the Code after the Effective Date.

                  7.2.1 Delegation of Specific Avoidance Actions. Amy Mitchell, Subchapter V Trustee
   or any successor trustee appointed in the Bankruptcy Case (the “Bankruptcy Trustee”), shall have the
   authority, on behalf and as representative of the Debtor’s bankruptcy estate to investigate, evaluate,
   pursue and/or settle avoidance and recovery actions relating to (1) the transfer recorded on November
   17, 2020 (the “Second Transfer”), of Debtor’s legal interest in the real property located at 29455 SW
   Heater Rd., Sherwood OR 97140 (the “Debtor’s Residence”), and (2) the deed of trust recorded against
   Debtor’s Residence on November 23, 2020, to secure a debt in the amount of $510,400 (the “New
   Mortgage”). The Bankruptcy Trustee may pursue such claims against Carrie Ariniello, the Debtor’s
   spouse, or Finance of America Mortgage LLC (“FAMLLC”), under the applicable provisions of Chapter
   5 of the Bankruptcy Code and Oregon’s Uniform Fraudulent Transfer Act, ORS 95.200 to 95.310.

                   7.2.2. Limitation on Delegated Actions. The Bankruptcy Trustee’s authority to pursue
   any avoidance claim shall be limited to: (i) avoiding the Second Transfer and the lien granted to
   FAMLLC in relation to the New Mortgage (the “Potential Avoidance Actions”), and (ii) subject to the
   limitation in 11 U.S.C. § 550(d), recovering the difference—if any—between (a) the value of the
   Debtor’s equity in the Residence if the Second Transfer and/or the New Mortgage are avoided and (b)
   $133,000.

                  7.2.3 Timing. Prior to filing any avoidance action related to the Second Transfer or the
   New Mortgage, the Bankruptcy Trustee shall file a report (the “Report”) with her findings, her proposed
   course of action, and the estimated amount of recovery. If the Bankruptcy Trustee determines that



Page 6 of 10     DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00502099:1}     REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                     Exhibit A - Page
                            Case 21-31142-dwh11       6 ofFiled
                                                  Doc 88   10 02/09/22
   additional recovery is unlikely, the Bankruptcy Trustee shall indicate that in the Report. The Report
   shall be filed no later than 180 days of the Effective Date.

                   7.2.4 Pre-Filing Resolution. If the Report indicates that the Bankruptcy Trustee
   believes that additional amounts are likely to be recovered through an avoidance and recovery action,
   after accounting for the limitations set forth in Section 7.2.2 above, the Debtor may resolve the matter
   and obviate the filing of an avoidance action by the Bankruptcy Trustee by amending the Modified Plan
   to pay to creditors the estimated recovery described in the Report (the “Pre-Avoidance Amended
   Plan”). To elect this pre-filing resolution, Debtor must (i) file the Pre-Avoidance Amended Plan within
   30 days of the date the Report is filed and (ii) obtain confirmation of the Pre-Avoidance Amended Plan
   within 90 days of the date the Report is filed. If the Pre-Avoidance Amended Plan is both timely filed
   and confirmed as provided in this paragraph, upon confirmation of the Pre-Avoidance Amended Plan
   the delegation to the Bankruptcy Trustee shall be deemed terminated. If the Pre-Avoidance Amended
   Plan is not timely filed or timely confirmed, following the earlier of such date, the Bankruptcy Trustee
   shall commence on behalf of the Debtor’s bankruptcy estate any Potential Avoidance Actions
   recommended in the Report. Any fees and costs of the Bankruptcy Trustee’s and the Bankruptcy
   Trustee’s counsel in connection with the Report and with any avoidance actions shall be paid as an
   administrative expense.

                   7.2.5 Post-Filing Resolution. In the event the Bankruptcy Trustee avoids the Second
   Transfer and/or the New Mortgage lien to FAMLLC, Debtor shall pay to creditors under the value of
   any transfers avoided by the Bankruptcy Trustee that is not already accounted for in the liquidation
   analysis of this Plan. An amended plan providing for such increased payment (the “Post-Avoidance
   Amended Plan”) must (i) be filed by the Debtor within 60 days of avoidance by the Bankruptcy Trustee
   and (ii) confirmed by the Bankruptcy Court within 120 days of avoidance. If the Post-Avoidance
   Amended Plan is not timely filed or confirmed within such time frame, on request of a party in interest,
   this case shall be converted to a case under chapter 7 of the Bankruptcy Code.


       VIII. ARTICLE 8: GENERAL PROVISIONPROVISIONS

          8.1     Definitions and rules of construction. The definitions and rules of construction set forth
   in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this
   Plan.

           8.2     Effective Date. The Effective Date of this Plan is the first business day following the
   date that is 14 days after the entry of the confirmation order. If, however, a stay of the confirmation
   order is in effect on that date, the Effective Date will be the first business day after the date on which the
   stay expires or is otherwise terminated.

           8.3   Severability. If any provision in this Plan is determined to be unenforceable, the
   determination will in no way limit or affect the enforceability and operative effect of any other provision
   of this Plan.




Page 7 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                       Motschenbacher & Blattner LLP
                                                                                       117 SW Taylor Street, Suite 300
{00502099:1}      REORGANIZATION (DATED FEBRUARY 9, 2022)                                  Portland, Oregon 97204
                                                                                            Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                                                                                             www.portlaw.com

                                      Exhibit A - Page
                             Case 21-31142-dwh11       7 ofFiled
                                                   Doc 88   10 02/09/22
           8.4    Binding Effect. The rights and obligations of any entity named or referred to in this Plan
   will be binding upon, and will inure to the benefit of the successors or assigns of such entity.

          8.5      Captions. The headings contained in this Plan are for convenience of reference only and
   do not affect the meaning or interpretation of this Plan.

           8.6    Controlling Effect. Unless a rule of law or procedure is supplied by federal law
   (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Oregon
   govern this Plan and any agreements, documents, and instruments executed in connection with this Plan,
   except as otherwise provided in this Plan.

           8.7     Notices. Unless otherwise agreed to between a creditor and the Debtor or otherwise
   stated in the Plan, all notices required or permitted to be made in accordance with the Plan shall be in
   writing and shall be delivered personally or by regular or certified mail, return receipt requested. Notice
   to a holder of an allowed claim shall be directed to the address set forth within its Proof of Claim filed
   with the Court, or if none, to its address set forth in the schedules prepared and filed with the Court, as
   amended. Notices to the Debtor shall be directed the following:

                              Debtor:               Edward A. Ariniello, Jr.
                                                    29455 SW Heater Rd.
                                                    Sherwood OR 97140

                              Debtor’s Attorney:    Nicholas J. Henderson
                                                    Motschenbacher & Blattner, LLP
                                                    117 SW Taylor Street, Suite 300
                                                    Portland, OR 97204
                                                    Fax: (503) 417-0501

   Notices shall be deemed given upon delivery, if personally delivered, and upon mailing, if mailed. Any
   person may change the address at which such person is to receive notices under the Plan by sending
   written notice, pursuant to the provisions of this section, to the Debtor and any other person to be
   charged with knowledge of such change.

       IX.           ARTICLE 9: DISCHARGE

   If the Debtor’s Plan is confirmed underNotwithstanding § 1191(a), onthe Debtor shall not receive a
   discharge in this case until the Effective Date of Debtor has completed all payments required by the Plan
   and the court grants a discharge upon completion of all payments due hereunder. Further, the Debtor
   will be discharged from any debt that arose before confirmation of this Plan, to the extent specified in §
   1141(d)(1)(A) of the Code. The Debtor will not not be discharged from any debt:

               (i)     imposed by this Plan; or

               (i)     excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
                       of the Federal Rules of Bankruptcy Procedure.;


Page 8 of 10           DEBTOR’S FIRST AMENDED PLAN OF                                 Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00502099:1}           REORGANIZATION (DATED FEBRUARY 9, 2022)                            Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com

                                          Exhibit A - Page
                                 Case 21-31142-dwh11       8 ofFiled
                                                       Doc 88   10 02/09/22
   If the Debtor’s Plan is confirmed under § 1191(b), confirmation of the Plan does not discharge any debt
   provided for in this Plan until the court grants a discharge on completion of all payments due within the
   first 3 years of this Plan, or as otherwise provided in § 1192 of the Code. The Debtor will not be
   discharged from any debt:

               (ii)     on which the last payment is due after the first 35 years of the plan, or as otherwise
                        provided in § 1192; or

               (ii)     excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
                        of the Federal Rules of Bankruptcy Procedure.

       X.             ARTICLE 10: DEFAULT.

          Except as otherwise specifically provided in the Plan, in the event Debtor shall default in the
   performance of any of her obligations under the Plan, then a claimant may pursue such remedies as are
   available at law or in equity. An event of default occurring with respect to one Claim shall not be an
   event of default with respect to any other Claim.

           Nothing contained in the Plan shall limit the right of any party to reopen this case or to convert
   this case to a liquidation case under Chapter 7 of the Bankruptcy Code if cause for such relief exists.

           Debtor shall be entitled to written notice of any claimed default under the Plan, and shall have
   twenty (20) days opportunity to cure. If such claimed default is cured within the twenty (20) days cure
   period, then such Creditor shall not be entitled to enforce any remedies which would otherwise be
   available on account of such default. If Debtor fails to cure within the twenty (20) days cure period, then
   such Creditor may seek such remedies as are granted by law to enforce its rights arising under and
   pursuant to the Plan, including seeking an order to compel such performance. The default and cure
   provisions contained in the Plan shall supersede any provisions concerning default and cure contained in
   any other agreement between Debtor and any Creditor affected by the Plan. Notice of default shall be
   effective when served simultaneously via fax at the number shown below and mailed to both the Debtor
   and to the Debtor’s attorney, postage prepaid, at the following addresses:address provided on the docket
   of the bankruptcy case.

       XI.            ARTICLE 11.: RETENTION OF JURISDICTION.

           Notwithstanding the entry of the order confirming the Plan, the Court shall retain jurisdiction of
   this Chapter 11 case pursuant to and for the purposes set forth in 11 U.S.C. §1127(b) and (a) to classify
   the Claim of any Creditor, reexamine Claims which have been allowed for voting purposes and
   determine any objection that may be filed to Claims; (b) to determine requests for payment of Claims
   entitled to priority under § 507(a)(2) of the Code, including compensation and reimbursement of
   expenses in favor of professionals employed at the expense of the estate; (c) to avoid transfers or
   obligations and to subordinate Claims under Chapter 5 of the Bankruptcy Code; (d) to approve the
   assumption, assignment of rejection of executory contracts and unexpired leases pursuant to 11 U.S.C.
   §§ 365 and 1123; (e) to resolve all controversies and disputes regarding the interpretation of the Plan; (f)


Page 9 of 10            DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                           117 SW Taylor Street, Suite 300
{00502099:1}            REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                                Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com

                                           Exhibit A - Page
                                  Case 21-31142-dwh11       9 ofFiled
                                                        Doc 88   10 02/09/22
   to implement the provisions of the Plan and enter orders in aid of confirmation; (g) to adjudicate any and
   all adversary proceedings and contested matters pending or hereafter commenced in this Chapter 11
   case; (h) to enter a final decree closing this Chapter 11 case; for such other matters as may be set forth in
   the Confirmation Order; (i) to determine the nature and extent of Debtor’s ownership, or rights in
   property held by the Debtor as of the Petition Date, including but not limited to actions to quiet title; and
   (j) reopen the case for the limited purpose of granting Debtor a discharge under 11 U.S.C. §1141 upon
   completion of the Plan payments.

               Dated August 17, 2021February 9, 2022

                                                 MOTSCHENBACHER & BLATTNER LLP

                                                 /s/ Nicholas J. Henderson
                                                 Nicholas J. Henderson, OSB No. 074027
                                                 Attorney for the Debtor In Possession




Page 10 of 10        DEBTOR’S FIRST AMENDED PLAN OF                                   Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00502099:1}         REORGANIZATION (DATED FEBRUARY 9, 2022)                              Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com

                                       Exhibit A - Page
                               Case 21-31142-dwh11   Doc 10
                                                         88 ofFiled
                                                                10 02/09/22
   Nicholas J. Henderson, OSB #074027
   nhenderson@portlaw.com
   Motschenbacher & Blattner LLP
   117 SW Taylor St., Suite 300
   Portland, OR 97204
   Telephone: (503) 417-0500
   Facsimile: (503) 417-0521

               Of Attorneys for Debtor Edward A. Ariniello, Jr.


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


    In re:                                                  Case No. 21-31142-dwh11

    EDWARD A. ARINIELLO, JR.,                               DEBTOR’S FIRST AMENDED PLAN OF
                                                            REORGANIZATION DATED
                              Debtor.                       FEBRUARY 9, 2022



   You are encouraged to carefully review the full text of this document, including all exhibits and
   attachments, before deciding how to vote on the Plan. To assist you in your review, please note that a list
   of definitions and a section of frequently asked questions appear at the end of this document.

   IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU MAY
   OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO OBJECT TO
   CONFIRMATION OF THE PLAN, YOU MUST DO SO BY THE DEADLINE SET FORTH IN
   THE NOTICE OF CONFIRMATION HEARING.

   YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE RETURNED
   BY THE DATE PROVIDED IN THE COURT’S ORDER FIXING TIME FOR FILING
   ACCEPTANCES OR REJECTION OF THE PLAN; AND NOTICE OF CONFIRMATION
   HEARING. THE BALLOT MUST BE MAILED TO MOTSCHENBACHER & BLATTNER
   LLP, ATTN: NICHOLAS J. HENDERSON, 117 SW TAYLOR STREET, SUITE 300,
   PORTLAND, OR 97204.

   Your rights may be affected by this Plan. You should consider discussing this document with an
   attorney.

   Questions regarding this Plan may be directed to the attorneys for the Debtor-In-Possession, using the
   contact information provided above.


Page 1 of 9           DEBTOR’S FIRST AMENDED PLAN OF                                Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00501722:3}          REORGANIZATION (DATED FEBRUARY 9, 2022)                           Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                         Exhibit B - Page
                                Case 21-31142-dwh11        1 ofFiled
                                                      Doc 88     9 02/09/22
   Edward A. Ariniello, Jr. (the “Debtor” or “Plan Proponent”) hereby submits this Plan of Reorganization
   dated February 8, 2022 (the “Plan”).

   Background for Cases Filed Under Subchapter V.

       A. Description and History of the Debtor's Business

   The Debtor is an individual residing in Clackamas County, Oregon. Debtor owns 68.4% of the
   outstanding membership interest of U.S. Outdoor Holding LLC (“USOH”), an Oregon manager-
   managed limited liability company headquartered in Multnomah County, Oregon. USOH operates U.S.
   Outdoor Store (the “Store”) as a retail establishment for outdoor sports and activities such as camping,
   hiking, skiing, snowboarding and more. Debtor is USOH’s manager and the primary operator at the
   Store.

   Debtor purchased the Store in 2017, and organized USOH that same year. Under Debtor’s management,
   the Store was relocated to Northwest Portland, after having been located on Broadway Street in
   downtown Portland since 1986. USOH is a debtor in its own Chapter 11 Subchapter V case, U.S.
   Bankruptcy Court (D. Oregon) Case No. 20-32571-dwh11 (the “USOH Case”). USOH’s Plan of
   Reorganization was confirmed in the USOH Case on January 27, 2021. See ECF No. 131; Case No. 20-
   32571-dwh11.

       B. Liquidation Analysis

   To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept
   the Plan will receive at least as much under the Plan as such claim and equity interest holders would
   receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit 1.

       C. Ability to make future plan payments and operate without further reorganization

   The Debtor must also show that it will have enough cash over the life of the Plan to make the required
   Plan payments and operate the Debtor’s business.

   The Plan Proponent has provided projected financial information as Exhibit 2.

   The Plan Proponent’s financial projections show that the Debtor will have projected disposable income
   (as defined by § 1191(d) of the Bankruptcy Code) for the period described in § 1191(c)(2) of
   $35,147.96.

   The final Plan payment is expected to be paid on the 60th month following confirmation of the Plan,
   which is anticipated to be March, 2027.

   The Plan Proponent’s financial projections are based on the Debtor’s current income and expenses,
   which were used to calculate the Debtor’s current disposable income. The Debtor projects that his



Page 2 of 9      DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00501722:3}     REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                     Exhibit B - Page
                            Case 21-31142-dwh11        2 ofFiled
                                                  Doc 88     9 02/09/22
   business will continue to improve, and that he will be able to modestly increase his personal income
   from the business as a result.

   You should consult with your accountant or other financial advisor if you have any questions pertaining
   to these projections.

       I. ARTICLE 1: SUMMARY

           This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code)
   proposes to pay creditors of the Debtor from ownership and operation of, and employment by, USOH,
   and through contribution of his share of household tax refunds received during the three years following
   the Effective Date of the Plan.

               This Plan provides for:        0 class of priority claims;
                                              0 classes of secured claims;
                                              2 classes of non-priority unsecured claims; and
                                              1 classes of equity security holders.

   Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent
   of this Plan has valued at approximately $0.05 cents on the dollar. This Plan also provides for the
   payment of administrative and priority claims.

   All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information
   regarding the precise treatment of their claim. A disclosure statement that provides more detailed
   information regarding this Plan and the rights of creditors and equity security holders has been
   circulated with this Plan.

       II.           ARTICLE 2: CLASSIFICATION OF CLAIMS AND INTERESTS

               2.1     Class 1. The non-priority unsecured claim of National Funding.

               2.2     Class 2. All non-priority unsecured claims allowed under § 502 of the Code.

               2.3     Class 3. The interests of the individual Debtor in property of the estate.


       III.          ARTICLE 3: TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                     PRIORITY TAX CLAIMS, AND QUARTERLY AND COURT FEES

           3.1     Unclassified claims. Under section § 1123(a)(1), administrative expense claims, and
   priority tax claims are not in classes.

           3.2    Administrative expense claims. Each holder of an administrative expense claim allowed
   under § 503 of the Code, will be paid in full on the Effective Date of this Plan, in cash, or upon such
   other terms as may be agreed upon by the holder of the claim and the Debtor.


Page 3 of 9            DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                          117 SW Taylor Street, Suite 300
{00501722:3}           REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                               Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com

                                          Exhibit B - Page
                                 Case 21-31142-dwh11        3 ofFiled
                                                       Doc 88     9 02/09/22
           3.3     Priority tax claims. Each holder of a priority tax claim will be paid in full over a period
   not later than the order for relief. The claim of the Internal Revenue Service is being paid in full
   pursuant to the terms of the USOH Plan. No payments shall be made by the Debtor under this Plan to
   the Internal Revenue Service. In the event of a default under the USOH Plan, the Debtor shall amend
   this Plan to provide for payment to the IRS. Such provision will reduce the amount of payments to be
   made to non-priority unsecured creditors.

           3.4    Statutory fees. All fees required to be paid under 28 U.S.C. § 1930 that are owed on or
   before the Effective Date of this Plan have been paid or will be paid on the Effective Date.

          3.5     Prospective quarterly fees All quarterly fees required to be paid under 28 U.S.C. §
   1930(a)(6) or (a)(7) will accrue and be timely paid until the case is closed, dismissed, or converted to
   another chapter of the Code

       IV.     ARTICLE 4: TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN.

   Claims and interests shall be treated as follows under this Plan:

    Class                       Treatment
    Class 1 – The non-          Class 1 is impaired. The Class 1 Claim of National Funding is being
    priority unsecured claim    paid in full under the terms of the USOH Plan. The Debtor shall not
    of National Funding,        make any payments to the Class 1 creditor unless National Funding,
    Inc.                        Inc. is not paid in full by USOH. In the event that USOH fails to pay
                                National Funding, Inc. under the terms of its plan, the Class 1 claim
                                shall receive payments under this Plan in the same manner as the
                                Class 2 Claimants.
    Class 2 – All non-          Class 2 is impaired. The Class 2 claims will be paid approximately
    priority unsecured          1.00% of their claims. This percentage will vary depending on the
    creditors not otherwise     amounts of allowed priority (including costs of administration of the
    classified under the        Estate and the Debtor’s attorney fees), and allowed non-priority
    Plan.                       unsecured claims. Unsecured claims shall be paid pro-rata on a
                                quarterly basis, after payment of administrative claims. The dividend
                                shall consist of each creditor’s pro-rata share of the portion of the
                                Debtor’s Quarterly Payment (defined below) remaining after
                                payment of administrative claims. The Debtor’s Quarterly Payment
                                shall be:
                                     $780.00 per quarter during the first year after the Effective
                                         Date of the Plan;
                                     $1,200 per quarter during the second year after the Effective
                                         Date of the Plan;
                                     $1,650 per quarter during the third year after the Effective
                                         Date of the Plan.
                                     $2,500 per quarter during the fourth and fifth years after the
                                         Effective Date of the Plan, or until such time that Debtor has

Page 4 of 9       DEBTOR’S FIRST AMENDED PLAN OF                                      Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00501722:3}      REORGANIZATION (DATED FEBRUARY 9, 2022)                                 Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com

                                       Exhibit B - Page
                              Case 21-31142-dwh11        4 ofFiled
                                                    Doc 88     9 02/09/22
                                        made plan payments totaling $35,147.96, exclusive of (1) tax
                                        refunds contributed to the Plan, as described below and (2)
                                        any amounts recovered from avoidance claims, as discussed
                                        in Article 7 below.
                                The Debtor shall also contribute his share of the household tax refund
                                to the Plan each year, if any, for the 3 years following the Effective
                                Date. Class 2 creditors shall receive their pro-rata share of the
                                Debtor’s portion of the household tax refund that remains after
                                payment to administrative claims.
    Class 3 – Debtor’s          Class 3 is unimpaired. Class 3 is the Debtor, who shall retain his
    Interest in Property of     interest in property of the estate.
    the Estate

       V.      ARTICLE 5: ALLOWANCE AND DISALLOWANCE OF CLAIMS

           5.1   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a
   final non-appealable order, and as to which either:

                  (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in
                  interest has filed an objection; or

                  (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as
                  disputed, contingent, or unliquidated.

          5.2     Delay of distribution on a disputed claim. No distribution will be made on account of a
   disputed claim unless such claim is allowed by a final non-appealable order.

          5.3    Settlement of disputed claims. The Debtor will have the power and authority to settle and
   compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal Rules
   of Bankruptcy Procedure.

         5.4    Allowance of Certain Claims. Upon confirmation of this Plan, the claim of Solomon
   Management, Inc. (Claim No. 4-1) and the claim of Robert D. Solomon, in his capacity as Trustee of the
   Mervin Solomon GST Trust UW 9-29-2008 (Claim No. 5-1) shall be deemed allowed.

       VI.     ARTICLE 6: PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

          Except for executory contracts and unexpired leases that have been assumed, and if applicable
   assigned, before the Effective Date or under this Plan, or that are the subject of a pending motion to
   assume, and if applicable assign, the Debtor will be conclusively deemed to have rejected all executory
   contracts and unexpired leases as of the Effective Date.

           A proof of a claim arising from the rejection of an executory contract or unexpired lease under
   this section must be filed no later than 30 days after the date of the order confirming this Plan.


Page 5 of 9       DEBTOR’S FIRST AMENDED PLAN OF                                    Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00501722:3}      REORGANIZATION (DATED FEBRUARY 9, 2022)                               Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                       Exhibit B - Page
                              Case 21-31142-dwh11        5 ofFiled
                                                    Doc 88     9 02/09/22
       VII.    ARTICLE 7: MEANS FOR IMPLEMENTATION OF THE PLAN

          7.1     General Plan Funding. Debtor intends to implement the Plan by continuing his
   ownership and operation of, and employment by, USOH, and through contribution of his share of
   household tax refunds received during the three years following the Effective Date of the Plan. The net
   disposable income to be generated through Debtor’s continued operation of USOH is shown in the
   attached Exhibit 2.

           7.2     Avoidance Actions. Any funds recovered from actions arising under Chapter 5 of the
   Bankruptcy Code shall be used to make additional payments to Creditors under the Plan. Debtor has not
   yet completed his investigation with regard to prepetition transactions. Debtor anticipates completing
   his investigation by May 31, 2022, and, except as set forth below, retains all rights to pursue any actions
   arising under chapter 5 of the Code after the Effective Date.

                  7.2.1 Delegation of Specific Avoidance Actions. Amy Mitchell, Subchapter V Trustee
   or any successor trustee appointed in the Bankruptcy Case (the “Bankruptcy Trustee”), shall have the
   authority, on behalf and as representative of the Debtor’s bankruptcy estate to investigate, evaluate,
   pursue and/or settle avoidance and recovery actions relating to (1) the transfer recorded on November
   17, 2020 (the “Second Transfer”), of Debtor’s legal interest in the real property located at 29455 SW
   Heater Rd., Sherwood OR 97140 (the “Debtor’s Residence”), and (2) the deed of trust recorded against
   Debtor’s Residence on November 23, 2020, to secure a debt in the amount of $510,400 (the “New
   Mortgage”). The Bankruptcy Trustee may pursue such claims against Carrie Ariniello, the Debtor’s
   spouse, or Finance of America Mortgage LLC (“FAMLLC”), under the applicable provisions of Chapter
   5 of the Bankruptcy Code and Oregon’s Uniform Fraudulent Transfer Act, ORS 95.200 to 95.310.

                   7.2.2. Limitation on Delegated Actions. The Bankruptcy Trustee’s authority to pursue
   any avoidance claim shall be limited to: (i) avoiding the Second Transfer and the lien granted to
   FAMLLC in relation to the New Mortgage (the “Potential Avoidance Actions”), and (ii) subject to the
   limitation in 11 U.S.C. § 550(d), recovering the difference—if any—between (a) the value of the
   Debtor’s equity in the Residence if the Second Transfer and/or the New Mortgage are avoided and (b)
   $133,000.

                   7.2.3 Timing. Prior to filing any avoidance action related to the Second Transfer or the
   New Mortgage, the Bankruptcy Trustee shall file a report (the “Report”) with her findings, her proposed
   course of action, and the estimated amount of recovery. If the Bankruptcy Trustee determines that
   additional recovery is unlikely, the Bankruptcy Trustee shall indicate that in the Report. The Report
   shall be filed no later than 180 days of the Effective Date.

                   7.2.4 Pre-Filing Resolution. If the Report indicates that the Bankruptcy Trustee
   believes that additional amounts are likely to be recovered through an avoidance and recovery action,
   after accounting for the limitations set forth in Section 7.2.2 above, the Debtor may resolve the matter
   and obviate the filing of an avoidance action by the Bankruptcy Trustee by amending the Modified Plan
   to pay to creditors the estimated recovery described in the Report (the “Pre-Avoidance Amended
   Plan”). To elect this pre-filing resolution, Debtor must (i) file the Pre-Avoidance Amended Plan within


Page 6 of 9      DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00501722:3}     REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com

                                     Exhibit B - Page
                            Case 21-31142-dwh11        6 ofFiled
                                                  Doc 88     9 02/09/22
   30 days of the date the Report is filed and (ii) obtain confirmation of the Pre-Avoidance Amended Plan
   within 90 days of the date the Report is filed. If the Pre-Avoidance Amended Plan is both timely filed
   and confirmed as provided in this paragraph, upon confirmation of the Pre-Avoidance Amended Plan
   the delegation to the Bankruptcy Trustee shall be deemed terminated. If the Pre-Avoidance Amended
   Plan is not timely filed or timely confirmed, following the earlier of such date, the Bankruptcy Trustee
   shall commence on behalf of the Debtor’s bankruptcy estate any Potential Avoidance Actions
   recommended in the Report. Any fees and costs of the Bankruptcy Trustee’s and the Bankruptcy
   Trustee’s counsel in connection with the Report and with any avoidance actions shall be paid as an
   administrative expense.

                   7.2.5 Post-Filing Resolution. In the event the Bankruptcy Trustee avoids the Second
   Transfer and/or the New Mortgage lien to FAMLLC, Debtor shall pay to creditors under the value of
   any transfers avoided by the Bankruptcy Trustee that is not already accounted for in the liquidation
   analysis of this Plan. An amended plan providing for such increased payment (the “Post-Avoidance
   Amended Plan”) must (i) be filed by the Debtor within 60 days of avoidance by the Bankruptcy Trustee
   and (ii) confirmed by the Bankruptcy Court within 120 days of avoidance. If the Post-Avoidance
   Amended Plan is not timely filed or confirmed within such time frame, on request of a party in interest,
   this case shall be converted to a case under chapter 7 of the Bankruptcy Code.


       VIII. ARTICLE 8: GENERAL PROVISIONS

          8.1     Definitions and rules of construction. The definitions and rules of construction set forth
   in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this
   Plan.

           8.2     Effective Date. The Effective Date of this Plan is the first business day following the
   date that is 14 days after the entry of the confirmation order. If, however, a stay of the confirmation
   order is in effect on that date, the Effective Date will be the first business day after the date on which the
   stay expires or is otherwise terminated.

           8.3   Severability. If any provision in this Plan is determined to be unenforceable, the
   determination will in no way limit or affect the enforceability and operative effect of any other provision
   of this Plan.

           8.4    Binding Effect. The rights and obligations of any entity named or referred to in this Plan
   will be binding upon, and will inure to the benefit of the successors or assigns of such entity.

          8.5      Captions. The headings contained in this Plan are for convenience of reference only and
   do not affect the meaning or interpretation of this Plan.

           8.6    Controlling Effect. Unless a rule of law or procedure is supplied by federal law
   (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Oregon
   govern this Plan and any agreements, documents, and instruments executed in connection with this Plan,
   except as otherwise provided in this Plan.


Page 7 of 9       DEBTOR’S FIRST AMENDED PLAN OF                                       Motschenbacher & Blattner LLP
                                                                                       117 SW Taylor Street, Suite 300
{00501722:3}      REORGANIZATION (DATED FEBRUARY 9, 2022)                                  Portland, Oregon 97204
                                                                                            Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                                                                                             www.portlaw.com

                                      Exhibit B - Page
                             Case 21-31142-dwh11        7 ofFiled
                                                   Doc 88     9 02/09/22
           8.7     Notices. Unless otherwise agreed to between a creditor and the Debtor or otherwise
   stated in the Plan, all notices required or permitted to be made in accordance with the Plan shall be in
   writing and shall be delivered personally or by regular or certified mail, return receipt requested. Notice
   to a holder of an allowed claim shall be directed to the address set forth within its Proof of Claim filed
   with the Court, or if none, to its address set forth in the schedules prepared and filed with the Court, as
   amended. Notices to the Debtor shall be directed the following:

                               Debtor:                 Edward A. Ariniello, Jr.
                                                       29455 SW Heater Rd.
                                                       Sherwood OR 97140

                               Debtor’s Attorney:      Nicholas J. Henderson
                                                       Motschenbacher & Blattner, LLP
                                                       117 SW Taylor Street, Suite 300
                                                       Portland, OR 97204
                                                       Fax: (503) 417-0501

   Notices shall be deemed given upon delivery, if personally delivered, and upon mailing, if mailed. Any
   person may change the address at which such person is to receive notices under the Plan by sending
   written notice, pursuant to the provisions of this section, to the Debtor and any other person to be
   charged with knowledge of such change.

       IX.            ARTICLE 9: DISCHARGE

   Notwithstanding § 1191(a), the Debtor shall not receive a discharge in this case until the Debtor has
   completed all payments required by the Plan and the court grants a discharge upon completion of all
   payments due hereunder. Further, the Debtor will not be discharged from any debt:

               (i)      imposed by this Plan;

               (i)      excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
                        of the Federal Rules of Bankruptcy Procedure;

               (ii)     on which the last payment is due after the first 5 years of the plan, or as otherwise
                        provided in § 1192; or

               (ii)     excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
                        of the Federal Rules of Bankruptcy Procedure.

       X.             ARTICLE 10: DEFAULT.

          Except as otherwise specifically provided in the Plan, in the event Debtor shall default in the
   performance of any of her obligations under the Plan, then a claimant may pursue such remedies as are



Page 8 of 9             DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                           117 SW Taylor Street, Suite 300
{00501722:3}            REORGANIZATION (DATED FEBRUARY 9, 2022)                                Portland, Oregon 97204
                                                                                                Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com

                                           Exhibit B - Page
                                  Case 21-31142-dwh11        8 ofFiled
                                                        Doc 88     9 02/09/22
   available at law or in equity. An event of default occurring with respect to one Claim shall not be an
   event of default with respect to any other Claim.

           Nothing contained in the Plan shall limit the right of any party to reopen this case or to convert
   this case to a liquidation case under Chapter 7 of the Bankruptcy Code if cause for such relief exists.

           Debtor shall be entitled to written notice of any claimed default under the Plan, and shall have
   twenty (20) days opportunity to cure. If such claimed default is cured within the twenty (20) days cure
   period, then such Creditor shall not be entitled to enforce any remedies which would otherwise be
   available on account of such default. If Debtor fails to cure within the twenty (20) days cure period, then
   such Creditor may seek such remedies as are granted by law to enforce its rights arising under and
   pursuant to the Plan, including seeking an order to compel such performance. The default and cure
   provisions contained in the Plan shall supersede any provisions concerning default and cure contained in
   any other agreement between Debtor and any Creditor affected by the Plan. Notice of default shall be
   effective when mailed to both the Debtor and to the Debtor’s attorney, postage prepaid, at the address
   provided on the docket of the bankruptcy case.

       XI.        ARTICLE 11.: RETENTION OF JURISDICTION.

           Notwithstanding the entry of the order confirming the Plan, the Court shall retain jurisdiction of
   this Chapter 11 case pursuant to and for the purposes set forth in 11 U.S.C. §1127(b) and (a) to classify
   the Claim of any Creditor, reexamine Claims which have been allowed for voting purposes and
   determine any objection that may be filed to Claims; (b) to determine requests for payment of Claims
   entitled to priority under § 507(a)(2) of the Code, including compensation and reimbursement of
   expenses in favor of professionals employed at the expense of the estate; (c) to avoid transfers or
   obligations and to subordinate Claims under Chapter 5 of the Bankruptcy Code; (d) to approve the
   assumption, assignment of rejection of executory contracts and unexpired leases pursuant to 11 U.S.C.
   §§ 365 and 1123; (e) to resolve all controversies and disputes regarding the interpretation of the Plan; (f)
   to implement the provisions of the Plan and enter orders in aid of confirmation; (g) to adjudicate any and
   all adversary proceedings and contested matters pending or hereafter commenced in this Chapter 11
   case; (h) to enter a final decree closing this Chapter 11 case; for such other matters as may be set forth in
   the Confirmation Order; (i) to determine the nature and extent of Debtor’s ownership, or rights in
   property held by the Debtor as of the Petition Date, including but not limited to actions to quiet title; and
   (j) reopen the case for the limited purpose of granting Debtor a discharge under 11 U.S.C. §1141 upon
   completion of the Plan payments.

               Dated February 9, 2022

                                                 MOTSCHENBACHER & BLATTNER LLP

                                                 /s/ Nicholas J. Henderson
                                                 Nicholas J. Henderson, OSB No. 074027
                                                 Attorney for the Debtor In Possession




Page 9 of 9          DEBTOR’S FIRST AMENDED PLAN OF                                   Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00501722:3}         REORGANIZATION (DATED FEBRUARY 9, 2022)                              Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com

                                        Exhibit B - Page
                               Case 21-31142-dwh11        9 ofFiled
                                                     Doc 88     9 02/09/22
